






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00229-CR







Jerry Wayne Johnson, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. D-1-DC-08-100051, HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



The Clerk received and filed a copy of Jerry Wayne Johnson's pro se notice of appeal,
using the style and cause number shown on the notice.  The Court has since learned that the local
cause number was a proceeding styled "In the Matter of a Court of Inquiry."  We are informed that
Johnson appeared as a witness in that proceeding, which resulted in an opinion and order concluding
that Tim Cole was innocent of the aggravated sexual assault for which he was convicted in 1986 in
Lubbock County.  The opinion and order states, among other things, that Johnson, who is serving
life sentences for other crimes, came forward in 1995 and said that he committed the crime for which
Cole was convicted.  

Johnson was not a party to cause number D-1-DC-08-100051.  Although the opinion
and order suggests that Johnson is guilty of the offense for which Cole was convicted, it does not
constitute a judgment of conviction.  Under the circumstances, Johnson has no right of appeal from
the opinion and order in cause number D-1-DC-08-100051.  See Tex. Code Crim. Proc. Ann.
art.&nbsp;44.01 (West Supp. 2008) (appeal by State), 44.02 (West 2006) (appeal by defendant).  

The appeal is dismissed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   June 4, 2009

Do Not Publish		


